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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         ) CRIM. CASE NO. 2:20-cr-44-ECM
                                                  )
TIFFANY CULLIVER FRANKLIN                         )

                       MEMORANDUM OPINION and ORDER

       This case is set for jury selection and trial on June 7, 2021. On May 12, 2021, the

case was reassigned to the undersigned. On May 20, 2021, the parties consented to

proceed before a United States Magistrate Judge for selection of the jury in this felony case.

(Doc. 81). Accordingly, it is

       ORDERED that jury selection is set on June 7, 2021 at 10:00 a.m. in Montgomery,

Alabama before United States Magistrate Judge Stephen M. Doyle. It is further

       ORDERED that the trial of this case is set immediately following jury selection in

Courtroom 2F, United States Courthouse Complex, One Church Street, Montgomery,

Alabama.

       Done this 1st day of June, 2021.


                                             /s/L. Scott Coogler
                                    L. SCOTT COOGLER
                                    CHIEF UNITED STATES DISTRICT JUDGE
